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IN THE UNITED STATES DISTRICT COURT 5 1915 y
FOR THE WESTERN DISTRICT OF TENNESSEE ' 35
EASTERN DIVISION "~-/` 7
LEoN LAKE, ) ' /
)
Plaiotiff, )
)
vs. ) No. 04-1251 T/An
)
THE PROCTER & GAMBLE )
MANUFACTURING CO., )
)
Defendant. )

 

ORDER DENYING MOTION TO COMPEL PLAIN'I`IFF TO AMEND
DISCOVERY RESPONSES

 

Bef`ore the Court is Defendant’s Motion to Compel Plaintif`f` to Amend Discovery
Responses filed on April 26, 2005. For the reasons set forth below, the Motion is DENIED
without prejudice

Def`endant served its First Set of lnterrogatories and Requests for Production of
Documents to Plaintif`f` on November 23, 2004. Plaintiff responded to the discovery requests on
January 27, 2005, and Defendant argues that these responses were deficient. As such,
Defendant’s counsel mailed a letter to Plaintiff’ s counsel on March 24, 2005 “addressing the
deficiencies in Plaintif`f"s interrogatory responses and Plaintif`f"s failure to respond in Writing to
the Requests for Production.” (Mern. in Supp. of Mot. to Compel, at 2). Specifically,
“Def`endant’s counsel requested that Plaintiff correct these deficiencies on or before April 1,
2005, by providing amended interrogatory responses.” (Id. at 3). Defendant’s counsel wrote that

Plaintiff’ s counsel Was welcome to discuss the alleged deficiencies with Defendant’s counsel at

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her convenience, but after not hearing from Plaintiff’s counsel, Defendant filed the instant
motion.

After due consideration, the Court concludes that Defendant’s counsel failed to comply
with Local Rules regarding consultation of counsel prior to filing the instant motion. Local Rule

7.2 provides:

Consultation by Counsel. All motions, including discovery motions, but not
including motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be
accompanied by a certificate of counsel (with one copy) affirming that, after
consultation between the parties to the controversy, they are unable to reach an
accord as to all issues or that all other parties are in agreement With the action
requested by the motion. Failure to file an accompanying certificate of
consultation may be deemed good grounds for denying the motion.

The certificate must contain the names of participating counsel and the date and

manner of consultation The burden will be on counsel filing the motion to

initiate the conference upon giving reasonable notice of the time, place and

specific nature of the conference If an opposing counsel or party refuses to

cooperate in the conduct of a conference, counsel must file certificate to that

effect, setting out counsel’s efforts to comply With this rule.

Local Rule 7.2{a)(1)(B) for the Western District of Tennessee.

Local Rule 7.2 requires that counsel for the parties consult and make a good faith effort to
resolve the discovery dispute In this matter, there was no consultation, and it does not appear
defense counsel made any effort to arrange a conference to see if the dispute could be resolved
before filing the instant motion with the Court. The Court concludes that defense counsel only
sent a letter which invited Plaintiff's counsel to contact her if Plaintiff’ s counsel wanted to
discuss the alleged deficiencies A month later, when plaintiffs counsel did not respond, defense

counsel filed this motion. More effort to resolve the dispute is required to meet Local Rule 7.2's

good faith standard

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For these reasons, the Court concludes that Defendant did not comply with the letter and
spirit of Local Rule 7.2(a)(1)(B). As such, the Motion is DENIED without prejudice Defendant

may re-file the instant motion if and when there is compliance with Local Rule 7.2.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

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DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:04-CV-01251 was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

